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UNITED STATES DISTRICT _COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------- X
MAZHAR SALEEM and JAGJIT SINGH, individually:
and on behalf of all others simila1ly situated,

Plaintiffs, ECF CASE

_ against __ 12 CV 08450 (JMF)

CoRPoRATE TRANSPORTATION GROUP, LTD., AFFIDAVIT OF EDUARD SLININ

et al.,
Defendants.
_______________________________________ X
I, EDUARD SLININ, duly sworn, deposes and states:
l. All of the statements in this affidavit are based on my personal knowledge as

president, owner (either full 01‘ in part), and aetive“hands orl’ manager of all of the corporate
entities in this lawsuit: Corporate Transportation Group, Ltd. (‘CTG); Corporate Transportation
Group Intemational; Colporate Transportation Group Worldwide, Ine.; NYC 2 Way
lnternational, Ltd. (‘NYCZWa§,?’); AllState Private Car & Lirnousine, Ine. (AllStatéj; Aristacar &
Limousine, Ltd. (‘Aiistacai"}; TWR Car and Limo, Ltd. (‘TWRj; Excelsior Car and Limo, lne.
(‘Excelsiof’); and Hybrid Express, Ine. (‘Hybridj.

2. On January 14, 2014, l submitted an affidavit in support of Defendants’ Motion

For Summary Judgment in this matter (ECF No. 478). All statements in that affidavit Were based

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on my personal knowledge as president, owner, and active “hands ori’ manager of the corporate
entities in this lawsuit.

3. On February 4, 2014, l submitted an affidavit in opposition to Plaintiffs’ Motion
For Partial Summzny Judgment in this matter (ECF No. 500). All statements in that affidavit
were based on my personal knowledge as president, owner, and active“hands ori’ manager of the
corporate entities in this lawsuit.

4. ln paragraph 59 of my January ]4, 2014 affidavit submitted in support of
Defendant§ Motion for Summary Judgment, l included a chart showing which plaintiffs
requested to be taken off of accounts and the number of accounts they requested to be taken off
of. I do not keep a chart in this form in the ordinary course of business. Rather, a chart was
ereated, in the form above, for the purposes of defending against this lawsuit.

5. Attached as Exhibit A to my January 14, 2014 affidavit submitted in support of
Defendants’ Motion for Summary Judgment, is a chart showing which Plaintiffs own versus rent
franchises lt is not a chart that is ordinarily kept in the course of business and was created for the
purpose of this lawsuit

6. To address Plaintiffs’ objection about the information in Exhibit A being in the
form of a chart, the following is a list of the names of Plaintiffs who own ii'anchises: Rafael
Alesix Rijo; Ramon A. Almonte; Ahmed M. Bakier; Onris R. De La Rosa; Juan Delossantos;
Shahidullah Dulal; Adel Elkazaz; Helena Elpidio; Marisol Espinal; Issa Feras; Alexis Garcia
Aiberto; Angel M. Gaya; Jack Golden; Ana M Herra; Xiong Jie Huang; Odishi Ine.; Ahmed
Isrnail; Shuhrat O Khakberdiyev; Anthony Khan; Oleg Kulyk; Ying Tian Lei; Samson Liao; Mei
Yao Liu; Ubaldo De Los Santos; Robinson M. Mata; Christino Montero Sanchez; Andrzej

Olechnowicz; Rafael Lorenzo Osoria; Lenkin R. Pantaleon; Peter G Panzica; Feiix A Paulino;

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Luis Perez; Pedro Moises Plasencia; Dexter Pusey; Hafjur Rahman; Tamer Rashdan; Ariel
Restituyo; Bartolome Rosario; Katelyn Santos Baez; Alexander Schwalb; Maharnmad Siddique;
.luan A. Soto; Towon Leroy Stewart; Sheng Zhong Xu; Noble Young; Roxana Zetino-Beltran;
Jorge Morales; Ratic Shivionov; Garnell Wrighten; Keith J. Daniel; Wilson Antonio Santos; Xun
Li Fan; Edgar Aucapina; Luis Aucapina; Arcelia Barros; Edisson Barros; lose L. Cabrera; Felix
Caraballo; Mikhail Gerber; Konstantin Katz; Adam Klag; Wiiman l\/Iartnez; Pedro Pazmino;
Marlene Pinedo; Wiison Antonio Santos; Mark Shinder; Balwinder Singh; Paul Gladkeviteh;
Point To Point Car & Limo Inc.; Rajan Dodeja; Paul Glibauskas; Eric Jarman; Ashwin Kumar;
Dariusz Rydzewski; Nick Wijesingfe; J an A. Kalda; Euclides Pena; Dexter Pusey; Md Khorshed
Alam; Anjum Ali; Saad Attia; Fernando Avendano; Prakash Badlani; Kouri Baudwin; Anwar
Bhatti; Carlota Briones; Jamshed Choudhry; Anowar Chowdhury; lbrahim Desooki; Abdelilah
El Karhat; Zydan Elnahar; Francois Fanfan; Asaad Faraj; Gustavo Garcia; Walid F. Hamcho;
lose Jaimes; Ramadan Kenawi; Wazir Mughal; Luis Perez; Gabriel Pizha; Imtiaz Quereshi;
Mustapha Rahmouni; Mazhar Saleem; Mohammed Shamuddoha; Mohammad Siddiqui; Harnek
Singh; Khushwant Singh; Kuldip Singh; Leo Stewart; Hasan Khalbash; ljaz Mahboob; Atif
Razaq; Gurmail Singh; 'I`arlochanpal Singh; Norman Levine; Jairo Bautista; Kerry Bobb; Jagdish
Lal; Xiangbo Li; Liang Hua Ma; Fabian Martinez; Jose Mogrovejo; Harrikisoon Seejattan; lose
M. Solorzano; Miriam C. Soiorzano; Luis M. Vasquez; Zenxin Wang; David A. Sanchez; and
Norman Ho.

7. To further address Plaintiffs’ objection about the information in Exhibit A being in
the form of a ehalt, the following is a list of the names of Piaintiffs who rent franchises: Wei
Xiong Ni; Cheung C Yeung; Xun Li Fan; Firoz Ahmed; Daniel Alexis; Donovan Anthony-

James; Tahir Aziz; Prakash Badiani; Sameh S. Basily; Harvinder S. Bhamra; Shashi Kumar

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Bhatia; Refat Bhuiyan; Ranjit Bhullar; Jimmy Chen; Man Ciieng; Mohammad Choudhry; Jorge
Contreras; Keith .l. Daniel; Segundo F. Duman; Pedro Segundo Duman Quintuna; Xun Li Fan;
Nwala Gabriel; Mohammed Gazi Ali; Anderson R. Gonzalez; Jeff Gravesande; Socrates
Gregoriadis; Babar Hafeez; Kirk Anthony Hayden; Joim M. Hidalgo; Humayun Kabir Hussain;
Malik Hussain; Mohammad M. Islam; Suleman Issi; Yasar Kahraman; Yasar Kahraman; Jawaid
Masud Kayani; Avneet Koura; Munish Kumar; Wenzhong Li; Samson Liao; Maher Mohammad
Maqsood; Marcos Mendez; Mohammed Mian; Mena Michael; Rangdev Multani; A Musa
Mohammed; Ahmed Nisar; Bayram Onbasi; lbrahim Onbasi; Wade Quashie; Mansoor Rana;
Azid Riaz; Luis Sanchez; Irf`an Shafi; Bhavesh Shah; Ke Shi; Inderjit Singh; Jagiit Singh;
Jeewan Singh; Joginder Singh; Malook Singh; Maninder Singh; Satnam Singh; Sukh Devsingh;
Tarlochanpal Singh; Sohan Singh Gill; Firozuddin Syed; Etienne Tchitchui; Nestor Teran;
Vishamber Tukrel; Aziz Urrehman; Harnek Whar; Dongseog Yoo; Mikhail Zemka; Ai Nong
Zhang; Zongrong Zhu; Amandeep Singh; Daljit Singh; Hafjur Rahman; Jose Mogrovejo; Mario
Guerrero-Baj ana ; Rajan Kapoor; and Hilario A.Sanchez.

8. Attached as Exhibit B to my January 14, 2014 affidavit submitted in support of
Defendants’ Motion For Summary Judgment is a chart showing the number of jobs that were not
serviced due to cancellation This chart was created from data in CTG’s dispatch system. it is not
a chart that is ordinarily kept in the course of business. l directed that the chart be made for
purposes of defending against this lawsuit.

9. In paragraph 62 of my January 14, 2014 affidavit submitted in support of
Defendants’ Motion for Summary Judgment, l included a chart showing which Plaintiff`s were

removed from accounts at a client’s request between 2009 and 2012. l do not keep a chart in this

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form in the regular course of business. 'l`he chart was created for purposes of defending against
this lawsuit.

10. in paragraph 73 of my January 14, 2014 affidavit submitted in Support of
Defendants’ Motion for Summary Judgment, 1 included a chart showing which plaintiffs booked
trips for personal customers and processed them through CTG’s data processing service. l do not
keep a chart of this form in the ordinary course of business. 1 created it for the purpose of
defending this lawsuit

li. To respond to Plaintiffs’ objection in paragraph 174 of their Counterstatement of
Material Facts, approximately 72 plaintiffs have never performed MTA work, including Saad
Attia, Edgar Aucapina, Luis Aucapina, Fernando Avendano, ’l`ahir Aziz, Kouri Baudwin,
Harvinder S. Bhamra, Kerry Bobb, Felix Caraballo, Jorge Contreras, .Tuan De Dos Santos,
lbrahim Desooki, Raj an Dodeja, Adel Elkazaz, Francois Fanfan, Asaad Faraj, Mohammed Gazi
Ali, Mikhail Gerber, Paul Gladkevitch, Jack Golden, Socrates Gregoriadis, Babar Hafeez, John
M. Hidalgo, Humayun Kabir Hussain, Malik Hussain, Feras Issa, Suleman Issi, Jose Jaimes, Eric
Jarman, Yasar Kahraman, Jan A. Kalda, Konstantin Katz, Ramadan Kenawi, Anthony Khan,
Avneet Koura, Ashwin Kumar, Munish Kumar, Norman Levine, Fabian Martinez, lsmael Mejia,
Michae] Mena, Juan C. Mogrovejo, Jorge Monaks, Celstino Montero, Andrzej Olechnowicz,
lbrahim Onbasi, Euclides Pena, Luis Perez, Point '1`0 Point Car & Limo Inc., Mansoor Rana,
Rafael A. Riso, David A. Sanchez, Mohammed Shamuddoha, Mark Shinder, Ratic Shivionov,
Mohammad Siddiqui, Daljit Singh, Jagjit Singh, Jeewan Singh, Khushwant Singh, Satnam
Singh, Sukhdev Singh, Taojochan Singh, Tarlochanpai Singh, Sohan Singh Gill, Jose Solore,
Firozuddin Syed, Nestor Teran, Vishamber Tukrel, Aziz Urrehman, Garnell Wrighten, and

Cheung C Yeung.

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12. 1 founded NYC2Way in or around 1985.

13. With respect to documents Bates numbered CTG 38263 and CTG 38264
(attached hereto as Exhibit A), 1 found these documents in mid-November while searching for
documents pertaining to 10seph Maydwell, in response to a November 1, 2013 letter Plaintiffs
sent my attorneys (attached hereto as Exhibit B). 1 did not find these documents prior to this date
because they Were not filed where they should have been because some of the documents in our
office Were misfiled after the office suffered significant damage in the wake of Hurricane Sandy
in 2012. My attorneys produced these documents to Plaintiffs shortly after 1 gave them to my
attorneys

14. Approximately 15% of Defendants’ business comes from requests from the
general public, and approximately 85% comes from corporate accounts.

15. 1 declare under penalty of perjury that the foregoing is true and correct.

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STEPHAN\E FRASKEF\

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Gommisslon Expircs May 22 20 off

 

